Case: 3:16-cv-00302-WHR Doc #: 77 Filed: 11/19/18 Page: 1 of 2 PAGEID #: 3771

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

BARBARA FLETCHER, et a/.,

Plaintiffs,

Vv. Case No. 3:16-cv-302
HONEYWELL INTERNATIONAL, JUDGE WALTER H. RICE
INC.,

Defendant.

ORDER VACATING FEBRUARY 28, 2017, JUDGMENT (DOC. #59);
SUSTAINING DEFENDANT HONEYWELL INTERNATIONAL, INC.'S
UNOPPOSED MOTION FOR RETURN OF COSTS PAID INTO
ESCROW (DOC. #74); JUDGMENT TO ENTER IN FAVOR OF
DEFENDANT AND AGAINST PLAINTIFFS; CASE TO REMAIN
TERMINATED ON COURT'S DOCKET

The Court previously entered Judgment in favor of Plaintiffs and against
Defendants. Doc. #59. On June 8, 2018, that decision was reversed by the Sixth
Circuit Court of Appeals. On November 13, 2018, the Supreme Court of the
United States denied a petition for a writ of certiorari. The Sixth Circuit issued its
mandate on November 14, 2018.

Accordingly, the Court VACATES the Judgment that was entered on
February 28, 2017, Doc. #59, in Plaintiffs’ favor. Judgment shall instead be
entered in favor of Defendant and against Plaintiffs.

The Court SUSTAINS Defendant Honeywell International, Inc.’s Unopposed

Motion for Return of Costs Paid into Escrow, Doc. #74, and DIRECTS the Clerk of
Case: 3:16-cv-00302-WHR Doc #: 77 Filed: 11/19/18 Page: 2 of 2 PAGEID #: 3772

Court to pay to Defendant the funds held in the amount of $11,458.88 either by
regular U.S. mail to Laura Orella, Honeywell International, Inc., 115 Tabor Road,
Morris Plains, NJ 07950, or by delivering to counsel for Honeywell, Mr. Donald
Burton, at the location of the Clerk’s office in Dayton.

The captioned case shall remain terminated upon the docket records of the
United States District Court for the Southern District of Ohio, Western Division, at

Dayton.

Date: November 19, 2018 b Abe NG

WALTER H. RICE
UNITED STATES DISTRICT JUDGE
